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                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS


Criminal No. 19-10080-NMG


                             UNITED STATES OF AMERICA


                                             v.


                                      DAVID SIDOO


                         ORDER RE CONFLICT OF INTEREST

                                       July 25, 2019
KELLEY, U.S.M.J.

       The government moved for a hearing concerning a conflict of interest with regard

to counsel retained by Mr. Sidoo (#400). Mr. Sidoo is represented by Attorney Martin

Weinberg, who also represents a codefendant in this case, Robert Zangrillo.

       The court held a hearing on July 16, 2019 pursuant to Rule 44(c), Fed. R. Crim.

P. At the hearing, Attorney Weinberg explained why he believes the potential conflict of

interest with Mr. Zangrillo is not fatal to his representation of Mr. Sidoo and stated that

he had reviewed the matter of joint representation with Mr. Sidoo. At the hearing, the

government agreed that any conflict of interest in the case may be waived and is not so

egregious that the court should remove counsel against the defendant’s wishes.

       At the hearing, the court explained to Mr. Sidoo that when codefendants

are represented by the same counsel, conflicts may arise that affect the quality of

their representation. The court set out possible problems, for example, the fact


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that joint representation might preclude one defendant from engaging in plea

bargaining or otherwise interfere with a favorable disposition of the charges

against that defendant. The court stressed that issues may arise that no one can

foresee at this stage of the case, and if Mr. Sidoo waives his rights with regard to

retaining counsel who has a conflict of interest, he is waiving his rights with

regard to those unforeseen issues.

       The court further advised Mr. Sidoo that he has an absolute right to be

represented by counsel who does not have a conflict of interest.

       Mr. Sidoo acknowledged that he is aware of the potential problems with

his attorney’s representation of him, he is aware that he is entitled to be

represented by counsel who does not have a conflict of interest, and that present

counsel has discussed the matter with him.

       Notwithstanding the potential for conflicts of interest, Mr. Sidoo still wishes

to be represented by present counsel.

       This court finds and concludes that Mr. Sidoo knowingly, intelligently, and

voluntarily waived his right to be represented by counsel who does not have a conflict of

interest.

       This court accordingly concludes, pursuant to Rule 44(c), Fed. R. Crim. P., that

Mr. Sidoo shall be represented by present counsel. Mr. Sidoo, at a later time, may

decide to retain different counsel. Should Mr. Sidoo conclude that representation by

different counsel is appropriate in the circumstances, that decision should be made

promptly upon discovery of the facts warranting that decision. As explained by this court




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during the colloquy with Mr. Sidoo, a judge is not obligated to continue deadlines or a

trial date based upon a late decision to obtain new counsel.

      Present counsel shall immediately notify this court in writing should counsel

become aware of new information bearing on the question of joint representation.




                                          /s/ Page Kelley___________________
                                         UNITED STATES MAGISTRATE JUDGE




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